Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 1 of 28

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA
— against —
JULIAN ELIE KHATER,

Defendant.

 

Docket No. 21-CR-00222 (TFH)

-X

DEFENDANT JULIAN KHATER’S MEMORANDUM
OF LAW IN SUPPORT OF HIS PRE-TRIAL RELEASE

Joseph Tacopina, Esq.

Chad Seigel, Esq.

Tacopina Seigel & DeOreo

Attorneys for Defendant Julian Khater
275 Madison Avenue, 35" Floor

New York, N.Y. 10016

Tel: (212) 227-8877

Alvin H. Thomas , Jr., Esq.

Law Office of Alvin H. Thomas Jr., PLLC
Attorney for Defendant Julian Khater

938 E. Swann Creek Road, #325

Fort Washington, MD. 20744

Tel: (301) 203-0893

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 2 of 28

TABLE OF CONTENTS

The Court Should Grant Defendant Julian Khater’s Release Pending Trial...........
A. The Applicable Law 0.0... ce cee eee

B. Julian Khater Does Not Pose a Danger to the Community............

1. The History and Characteristics of the

Defendant 2.00... es
2. The Weight of the Evidence ........... 0.00000 ccc eee ences
3. The Nature and Circumstances of the Offense ;
Charged... 2... cece eee ens
4. The Nature and Circumstances of the Danger
to Any Person or the Community That Would
Be Posed by the Person’s Release.............0..00000 000,
C. Julian Khater Does Not Pose a Risk of Flight .................005.
D. The Prospective Sureties and Collateral ..........00.0.0..0000000.
E SUMMALY. ec een tee ences eee neas

Conclusion .. 00... ccc ee eee ee eee ee een nee eee beeen apnbennuennnue

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 3 of 28

 

TABLE OF AUTHORITIES
CASES PAGES
United States v. Ali, 965 F.Supp.2d 139 (D.D.C. 2013)... 00. cece eee 4
United States v. Munchel, 2021 WL 1149196 (D.C. Cir. 2021). 0.0.0.0... 000.0000, 3, 16, 17
United States v. Patriaca, 948 F.2d 789 (1st Cir. 1991)... 0... cc eee 3, 16
United States v. Salerno, 481 U.S. 739 (1987)... 0.00 cc cece cee cece nen e ee 2,21
United States v. Singleton, 182 F.3d 7 (D.C. Cir. 1999). 0... cee eee ee 2
United States v, Smith, 79 F.3d 1208, 1209 (D.C. Cir. 1996) 0... eee 3
United States v. Taylor, 289 F.Supp.3d 55 (D.D.C. 2018). 0... cece ee eee 2,4
United States v. Vasquez-Benitez, 919 F.3d 546 (D.C. Cir. 2019)... 000020 ec eee 3
STATUTES PAGES
IBUS.C. § 11) oe ce een eee n beet enn eet eens 14
18 US.C. § 3142 2 cette cee tence tent eines 3,4, 21

ii

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 4 of 28

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

---- -- x
UNITED STATES OF AMERICA
Docket No. 21-CR-00222 (TFH)
— against —
JULIAN ELIE KHATER,
Defendant.
xX

DEFENDANT JULIAN KHATER’S MEMORANDUM
OF LAW EN SUPPORT OF HIS PRE-TRIAL RELEASE

PRELIMINARY STATEMENT

At the outset, the defense recognizes that the surrounding circumstances of this case evoke
a great deal of emotion. Itis hard not to think of the events that unfolded on January 6" and not have
a visceral reaction — particularly, as rioters entered the Capitol Building by breaking windows and
ramming open doors.

But Julian Khater was not one of them. He never entered the Capitol Building, never sought
to threaten members of Congress, and never intended to forcibly interfere with the peaceful transfer
of power. Instead, the act attributed to him was a limited and isolated one, that never transgressed
the barrier that lay directly before him. Moreover, according to the detailed criminal complaint that
was filed in this case [Dkt. No. 1], that singular act — of using a bear spray canister which he
personally did not purchase or carry to the Capitol — occurred as much as eight feet away from
officers, only after he emphatically yelled out that he, himself, was just sprayed.

Clearly, the circumstances giving rise to this case are extraordinarily unique. In accord with
that fact, as discussed below, many defendants charged with violent and/or aggressive behavior on

January 6" have been released pending trial.

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 5 of 28

These factors, coupled with the upstanding history and characteristics of Mr. Khater, who has
absolutely no prior contact with the criminal justice system, support his pre-trial release. In fact, any
notion that he poses a risk of flight or danger to the community is undercut by the dozen and a-half
letters attached to this submission. In those letters, people who know Mr. Khater best extol his
exemplary background and character.

Accordingly, for the reasons further detailed below, the defense requests that he be released
on a substantial bail package with stringent pre-trial conditions, including: (1) a $15 million bond
(a) secured by five properties comprising approximately $1.5 million in equity and (b) guaranteed
by 16 family members who will co-sign as financially responsible sureties; (2) home detention with
electronic monitoring; and (3) a condition that Mr. Khater surrender any and all passports in his

possession.

ARGUMENT

THE COURT SHOULD GRANT DEFENDANT JULIAN KHATER’S
RELEASE PENDING TRIAL

A. The Applicable Law

“In our society liberty is the norm, and detention prior to trial or without trial is the carefully
limited exception.” United States v. Salerno, 481 U.S. 739, 755 (1987). Thus, “[d]etention until trial
is relatively difficult to impose,” United States v. Singleton, 182 F.3d 7,9 (D.C. Cir. 1999), and “the
default position of the law . . . is that a defendant should be released pending trial.” United States
v. Taylor, 289 F.Supp.3d 55, 62 (D.D.C. 2018) (quoting United States v. Stone, 608 F.3d 939, 945
(6th Cir. 2010).

In light of the foregoing, to detain a defendant, the Government must establish by clear and

convincing evidence that there exists absolutely “no condition or combination of conditions [which]

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 6 of 28

will reasonably assure the appearance of such person as required and the safety of any other person
and the community.” 18 U.S.C. § 3142(e)(1) (emphasis added). “In common parlance, the relevant
inquiry is whether the defendant is a ‘flight risk’ or a ‘danger to the community.’” United States v.
Vasquez-Benitez, 919 F.3d 546, 550 (D.C. Cir. 2019). In other words, to warrant the defendant’s
pre-trial detention, the Government must prove that such drastic recourse is the on/y means by which
to reasonably assure his appearance and the safety of the community. United States v. Smith, 79 F.3d
1208, 1209 (D.C. Cir. 1996).

Furthermore, with regard to the “danger to the community” prong, the evidence must prove
that the defendant actually poses such a danger, not that he does so in theory. United States v.
Patriaca, 948 F.2d 789 (st Cir. 1991). And, with regard to that consideration, as the Court of
Appeals recently observed in United States v. Munchel, 2021 WL. 1149196, at *7 (D.C. Cir. 2021),
[t]he threat must | | be considered in context,” as well as the defendant’s “means of [carrying out
that threat] in the future.” Accordingly, “[w]hether a defendant poses a particular threat depends on
the nature of the threat identified and the resources and capabilities of the defendant.” Jd. , at *7.

In assessing whether pre-trial detention is warranted for dangerousness, district courts
consider four statutory factors: (1) “the nature and circumstances of the offense charged,” (2) “the
weight of the evidence against the person,” (3) “the history and characteristics of the person,” and
(4) “the nature and circumstances of the danger to any person or the community that would be posed
by the person’s release.” 18 U.S.C. § 3142(g)(1}(4).

Importantly, throughout this proceeding, the Government bears the burden of both production

and persuasion, as there is no presumption that detention is necessary.’ To the contrary, as noted

 

'None of the criteria triggering a “rebuttable presumption” in favor of detention exist in this case.
See 18 U.S.C. § 3142 (e)3)(A)}HE).

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 7 of 28

above,“the default position of the law . . . is that a defendant should be released pending trial”
Taylor, 289 F.Supp.3d at 62 (emphasis added). And that presumption may only be overcome if the
Government can carry its ultimate burden of showing that no conditions whatsoever can be imposed
to reasonably assure the defendant’s appearance and the safety of the community. As explained in
United States v, Ali,

the government retains the ultimate burden of persuasion by clear and

convincing evidence that the defendant presents a danger to the community,

and by the lesser standard of a preponderance of the evidence that the

defendant presents a risk of flight.
965 F.Supp.2d 139, 147 (D.D.C. 2013) (internal quotations, ellipses, and brackets omitted).

For the reasons set forth below, the Government cannot carry its burden of proving that the
substantial bail package available will not reasonably assure the safety of the community or the
defendant’s appearance at all future proceedings. And that is particularly true in light of the statutory
bail factors to be considered.

B. Julian Khater Does Not Pose a Danger to the Community

A consideration of the relevant factors under 18 U.S.C. § 3142(g) demonstrates by clear and
convincing evidence that detention is not necessary to protect the community from Julian Khater.

1. The History and Characteristics of the Defendant

Julian Khater is an American citizen who was born in this country. And at age 32, he has

never before had any contact with the criminal justice system. He has no prior arrests, because he

does not have a criminal disposition. To the contrary, this alleged offense is an anomaly in an

otherwise law-abiding life.

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 8 of 28

By way of background, Mr. Khater — who hails from a supportive and close-knit family —
is one of four sons born to the previous marriage of Elie Khater and Eleanor Fox. Both his father,
mother, and siblings are all hard-working and productive members of society. And the same holds
true for Mr. Khater, who graduated from Fairleigh Dickinson University with a Bachelor’s degree
in Business Administration and Management in 2011. Thereafter, he secured full-time employment
as a financial sales consultant for PNC Bank, where he remained until taking a position in 2016, as
an event planner for Topgolf, a sports entertainment company. Then, in 2018, he started working
for Frutta Bowls, a healthfood café, which he managed and co-owned with his family. And Mr.
Khater continued to work at that business until May 2020, when the pandemic forced the business
to shutter its doors. As aresult, Mr. Khater was living with his father from then until the date of his
arrest.

As his history readily reveals, Mr. Khater has worked hard to make something of himself,
living a law-abiding life marked by education and gainful employment.

In accord with his unblemished history, unlike others associated with the events of January
6", Mr. Khater is not, nor has ever been, part of some far-right, neo-fascist organization that
promotes and engages in political violence. In fact, separate and apart from the Government’s
present accusation, there is no question that Mr. Khater has never participated in a single act of
violence. And that is because Mr. Khater is not inherently a violent or aggressive person. To the
contrary, he is a kind and compassionate person, as evidenced by an outpouring of letters written on
his behalf.

All in all, a dozen and a-half people who know Julian Khater best have submitted letters in

support of his release, which are annexed hereto as Exhibits A through R. In their letters, these

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 9 of 28

people — comprising family members, a family friend, and a former coworker — collectively attest
to all of the information detailed above regarding Mr. Khater’s upstanding history and
characteristics. For instance, Mr. Khater’s former co-worker at PNC Bank, Maggie Dawoud, states:

...1 was a coworker of Julian’s at PNC Bank, Somerset, New Jersey from
2015 to 2016. Julian was the nicest and most conscientious person to work
with. He learned everything in record time and never missed an opportunity
to better himself within our branch. He was always upbeat and humorous, and
whatever he was tasked with he would accomplish with good grace and
efficiency. I was shocked to see that the media were portraying him to be
violent or a trouble maker! This is not the Julian I knew and worked with! He
was such a quiet and shy person! He was always polite and courteous to
customers and all who worked with him. As far as I'm concerned, Julian
doesn't have the mildest inkling of a temper! I have no doubt that whatever
has been leveled against him is a mistake and my thoughts and prayers are
with him and his family. | would work with Julian again in a heartbeat!
[Exhibit A].

Mr. Khater’s work ethic and positive nature are attributes that were undoubtedly instilled in
him by his parents. His mother, Eleanor Fox, explains:

Julian is my second of four sons. My first, third and fourth were all little
fireballs. Julian was always the quiet one, the sweet one; as my father Dr.
Robin Fox would say, “the little elves brought Julian!" He was the one to
hold the younger ones' hands; he would not go and play with the other
children in order to stay behind and play with his younger cousins who
couldn't go off with the older kids.... Julian has never been in trouble, has
never caused trouble, and has never given me a sleepless night.

I was raised in a family of intellectuals and Liberals. My father, Dr Robin
Fox, founded the Anthropology department at Rutgers University in 1969. He
is the author of over 30 books on the subject and was inducted into the
National Academy of Sciences. My mother was university educated and we
have lived in the US since 1969. I also attended Rutgers University. My
sisters are both anthropologists, my younger sister Dr. Anne Fox has a PHD
in the subject, and my older sister, Kate Fox, is a renowned author. My son
Julian was raised to study, work hard, and espouse a liberality of ideas and

cultures.
# * & *

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 10 of 28

Julian was always easy as a child, and continued that way through school and
college. [He] went on to gain a Bachelor’s degree from Fairleigh Dickinson
in Business and Marketing. His father and I raised our boys to respect
teachers, and all of his teachers’ comments were how polite and respectful he
was. Our home was one of laughter and discipline, and my boys always came
to me with their problems. Julian wanted to become a police officer. I
worried about that, but he felt a strong sense of community for where we
lived in New Jersey and had friends who had joined the police force. His
career took different paths, but I was the most shocked when the media
reports came out that said that Julian had supposedly attacked an officer!! He
wanted to BE an officer! [Exhibit B].

Julian’s Khater’ s father, Elie Khater, echoes his mother’s sentiments, while expounding upon
his higher education and gainful work history:

I always strived and worked hard to raise a good family. I- brought up my
four sons to be productive members of society. I instilled in them good
values, teaching them to be caring and respectful of others.

They all attended college, and Julian in particular always kept busy studying
and working. He attended Raritan Valley College where he earned his
Associates Degree in Business (2007-2009). He then attended Fairleigh
Dickinson University from 2009 to 2011 where he earned his Bachelor's
Degree in Business Administration and Management. While Julian attended
college he always was employed. He worked at Peter's Liquors in New
Brunswick from 2007 to 2012. He also worked as bar manager at Panico’s
Restaurant from 2011-2016, and from 2014 to 2016 as a financial sales
consultant at PNC Bank in Somerset, New Jersey. From December 2016 to
January 2018, he worked as an event ambassador and bartender at Top Golf
in Edison, New Jersey. From January 2018 to January 2019 he managed and
co- owned Frutta Bowls in Chapel Hill, North Carolina. Then from January
2019 to May 2020 he ran the Frutta Bowls in State college, Pennsylvania. He
has worked and studied continuously since he was 17.

Julian always worked in the service industry. He was always well-liked by
everyone and loved by his customers. He loved people and people loved him.
Julian is a loving, caring, quiet and gentle human being.... Julian is always
respectful and considerate of others, and he has never ever harmed a living
being in his entire life. Julian always loved and cherished law enforcement
(police, fire fighters, army etc.). Anyone who served our country in any
capacity was his hero. In fact, one of his ambitions was to join the Sherriff's
Department in Franklin Township, NJ.

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 11 of 28

Julian always kept busy with studies and work and was never involved in
anything else. I was shocked and devastated to lear of his arrest in
connection with the events of January 6". [Exhibit C].

Mr. Khater’s three brothers all share similar accounts regarding his kind and gentle spirit, his
unblemished history, and the aberrational nature of this allegation. First, his older brother, Michael
Khater, conveys:

Julian was the quiet, sweet, gentle, shy, smiling, cheerful child that all parents
wanted their kids to be friends with.... These are some of many reasons why
I chose Julian to be the Godfather of my firstborn son. He is dependable,
reliable, well-rounded, absolutely fantastic with my kids, and, most of all,
calm, considerate, gentle, and ALWAYS nice. Julian would never hurt a fly.
At least, in the 32 years he’s been alive, I haven’t seen it or even thought it
could be possible. The thought of Julian planning or executing anything
detrimental to himself or to others is simply inconceivable. When we would
go out to eat together, sometimes after a long day at work, Julian couldn’t
even plan where and what to have for dinner, let alone plan anything else. He
was a work-to-home, home-to work type of a person, always.

While I understand the dark cloud hanging above this issue, I am writing to
assure you that Julian is not the person he is being painted out to be. He is
sweet, gentle, calm, and would never hurt anything or anyone, ever. His
academic and entrepreneurial success, combined with his complete lack of
any history of anything negative whatsoever, are testament to his character....
[Exhibit D].

Michael Khater’s high opinion of Julian Khater is held equally by their younger brother,
Christopher Khater, who states:

Julian was always a funny, loving and caring older brother to me. He was
always there when I needed him, and had my back through all of the ups and
downs I have been through. Julian is a very friendly person and is always
looking to crack jokes, go to events, and have a good time with his friends
and family. I know my brother is not capable of intentionally harming anyone
or being a part of any type of violence whatsoever. All of his friends, family,
and co-workers can attest to his joking and kind-hearted nature.

When I heard of my brother’s arrest I was in absolute shock, and the
allegations made against him and the smear stories circulating of him in the

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 12 of 28

media are an absolute misrepresentation of him and his character. My brother
does have his beliefs and opinions, but would never take part in violent
actions in order to voice his opinions. These stories and allegations truly do
not represent my brother, our family, or his character at all. [Exhibit E].

John Khater, Julian’s remaining brother, 13 months his junior, confirms the foregoing:

My brother Julian is not the person portrayed in the news. The person I have
had to read about is the opposite of my brother. He was always kind and
protective of me, and 1 am sure I can speak for of all his siblings, cousins, and
friends on that matter. He has never been an activist for anything. He had
never attended a rally before. He is quiet and shy. He never even raises his
voice. He is the kindest to children, and the chosen Godfather of many, many
of our family’s young in the next generation.

Julian has only ever been a caring, funny, thoughtful, compassionate,
empathetic and protective brother. I cannot believe what is being said and
circulated about him. This is not who Julian is in any way, shape, or form.
[Exhibit F].
Because violence of any sort is so antithetical to his nature, Mr. Khater’s close family friend,
Alissa Latner, a councilwoman in the borough of Closter, New Jersey, was dumbstruck by the instant
accusation:
I always thought of Julian as a shy, quiet, gentle boy. He was always weil
behaved, considerate of others, attentive to the younger children, and a helper
around the house. Of course I was completely shocked when I heard about
his recent arrest as well as the idea of him being involved in anything violent,
which totally defies the young man I have known him to be. I merely would
like to attest to his good character, and that ... I find it very hard to accept
what he is being accused of, as it truly defies the Julian that I know. [Exhibit
G].
As referenced previously, Julian Khater is part of an extraordinarily close-knit and extended
family. To that end, included in the attached letters are those from four of his cousins, his sister-in-
law, his uncle, and five of his aunts. These individuals provide a clear and convincing account of

Mr. Khater’s upstanding role within their family and the community. For example, Mr. Khater’s

cousin, Jennifer Bozovic, states:

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 13 of 28

I was at work when I saw the news of my cousin Julian. I was shocked and
speechless. Out of everyone in the world, Julian would be the last person I
would think his could happen to.... Julian has three brothers. Out of all of the
siblings, Julian was always the calmest, most reasonable, pragmatic and
always kept his brothers out of trouble.... Julian attended Farleigh Dickinson
University and graduated with a degree in finance. He has always worked
hard, never got in trouble and is a contributing member of society. He joined
our local church group with me where we helped the homeless, went on
several religious retreats to help the people in need and held many events to
raise money for our church and other not for profit organizations.

He has had many jobs with different areas of expertise and experience which
he excelled at and was commended by all his employers. He has never been
in trouble with the law. He is very family oriented and makes a special effort
to see his nephews and our family.... Julian [is] a kind soul [and] loving
person and is truly loved and supported by our entire family, many friends
and people in our community. He is the last person on earth that would harm
anyone, not even a bug. [Exhibit H].

Another of Mr. Khater’s cousin, Joseph Khater, expresses a similar view of him:

Upon hearing the news of Julian being detained, I was in shock. Having
known Julian all [o]f his life, and basically growing up together, I know he
is one of the most considerate and kind people. We spent countless hours
riding bikes, climbing, and playing tag. He was such a gentle person he could
not even kill a bug without getting upset. He is an amazing uncle to his
nephews and nieces, playing hide and seek and making funny faces to keep
them entertained for hours. He never misses an opportunity to hang out with
his family... He comes from a very loving, tight-knit family that is
well-respected in the community. Even as adults, we have spent many a
holiday playing board games and charades after the main courses and deserts
are completed, he has played tirelessly to keep everyone engaged in the game.

In his work life he was the utmost professional employee and coworker. He
was an exceptionally good team player and loved by many of the customers
he served whether it was at PNC Bank, Top Golf, or even Panico’s
Restaurant. Also, while at Top Golf he exceeded performance in his job and
was managing larger party bookings always being on top of any situation that
should arise and diffusing any conflict peacefully. In short, he operates with
integrity and is well liked by everyone. Julian is a person of high moral
character, he never hesitates if someone needs:a helping hand, and always
one to ask if you need something before you even get a chance to ask.

10

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 14 of 28

As a whole Julian is a reliable, trustworthy and loving person. I leave you
with this example, Julian is the godfather of one of my nephews and during
the ceremony my nephew would not sit still or stop crying, so Julian ever the
problem solver spent most of the ceremony tickling my nephew's feet and
playing peek-a-boo so he would not be crying the whole time. That is the
Julian we all know and love. [Exhibit I].

Mr. Khater’s cousin, Joanna Khater, also speaks fondly about his positive attributes:

I have known him my whole life, and have always known him to be an
affectionate and thoughtful person. When I was informed about Julian being
in trouble, like the rest of the family, I was in disbelief. Julian would never
hurt anyone or anything. He is one of the kindest and most empathetic people
I know. I am one of the younger cousins in our family, and Julian would
always stay behind to play with me when I wasn’t able to partake in the older
kids’ activities. He would never let anyone feel left out or upset, and would
rather sacrifice his wants just to put a smile on someone else’s face.

Julian Khater is an honorable person, with good morals and a family that
loves and misses him incredibly. He is an amazing uncle and Godfather,
always putting his nieces and nephews needs before his own. He is an adored
brother and son, always supporting his family in times of need. He is very
involved in all family businesses and takes on many responsibilities to ensure
the happiness of his family and the success of their investments. When his
father became interested in the “Frutta bowls” chain, Julian was by his side,
no questions asked..... He is a very trustworthy and family oriented man. He
is a hard worker, and is thought of with the utmost respect with regards to his
occupations and his everyday self. Julian could not hurt a fly, much less
another person, and I know that will all of my heart. He comes from an
upstanding family, with good morals.... [Exhibit J].

Given his gentle nature, the last of Mr. Khater’s cousins to write on his behalf, Amine
Khater, was, like his other relatives, shocked upon learning of his arrest in this matter:

When the news broke I was in complete shock, this is not my cousin Julian.
Julian would never harm a fly. In fact, Julian was the one who avoided any
conflicts, and the first to try to resolve any differences cordially, He spent his
entire life working in the service industry. Julian worked in restaurants,
taverns and even financial services industry with PNC Bank for some time.
He was never involved in any altercation throughout his entire career....
Julian is a very likable man, gentle and down to earth. Julian has never had
any run-in with the law his entire life. This whole situation has left the entire
family in disarray. [Exhibit K].

1]

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 15 of 28

The wave of shock and dismay that rippled through Mr. Khater’s family upon learning of his
arrest was palpable, as the instant accusation stands in stark contrast to his true character. Indeed,
his sister-in-law, Geeta Khater, writes:

I have know Julian for 14 years and have watched him grow into a wonderful
man, When I heard about the incident Julian was involved in, I was shocked
and then heartbroken. This could not be happening. Not once did I believe
Julian could have done the things he was being accused off... He is my son
Jason’s Godfather and I know God chose him for a reason. He is always there
when we need him and has never missed a family event. When the kids see
him coming they get so excited!

Thave also lived and worked with Julian and can attest to his amazing work
ethic and consideration for those around him. He has always had a positive
outlook on any problem we deal with at work and always kept himself busy.
When the days were long, he kept me laughing. [Exhibit L].

Consistent with the preceding accounts, Mr. Khater’s uncle, Pierre Khater, experienced his
own shock upon hearing of his nephew’s arrest:

Julian is a very hard working responsible person. Julian is always very kind
to everyone. He is also a great uncle and cousin to all of the children in the
family. fulian has always been a great employee and manager in all of his
endeavors. My nephew has never had any run-ins with the law, and always
respected all law enforcement. Julian never harmed anyone in his life and
would never do anything to upset anyone; he is of a very quiet nature. I was
shocked to hear the news; this is not my nephew. [Exhibit M].

As the testimonials now presented make clear, Mr. Khater does not have a propensity for
violence or aggression. And that is precisely why news of Mr. Khater’s arrest struck his entire
family with such consternation. His aunt, Leila Farrelly, explains:

When we heard of the event involving Julian, we were in total shock, because
it absolutely defies the young man I have known him to be. Julian has always
had high moral standards and great responsibility in his actions. I have always
known him to be a peaceful, loving, great young man, and it is very hard to
accept and believe what he is being accused of. Again, I have known Julian
all his life and he has a great personality as well as great character, and he
does not have a mean bone in his body. {Exhibit N].

12

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 16 of 28

Similarly, Wadad Khater, another of Mr. Khater’s aunts, expresses that he is “the sweetest
kid to this day,” has “never hurt anybody or did something bad to the community,” and is “always
honest, helpful, polite, respectful of others and hard working...” [Exhibit O]. That view is
corroborated by still another of Mr. Khater’s aunts, Katie Fox, who states:

Julian always struck me as a kind, considerate and serious person. To my
knowledge, he has never previously engaged in violence of any kind at all.
Quite the opposite: even as a child and teenager, he was remarkably gentle
and thoughtful - a peacekeeper and mediator, not a fighter. I have health
problems, and it was always Julian who noticed when I was getting tired or
struggling with something, always Julian who jumped to offer help. As he
grew up, Julian increasingly longed to do something meaningful with his life,
to make a difference. He has a strong sense of duty, and his ambition was to
join the Sheriffs department. [Exhibit P].

Mr, Khater’s kind and amiable nature is corroborated by his aunt, Irina Khater:

He is a great, upstanding, extremely polite, hard working person with a big
heart. He is always happy to help with absolutely anything, from preparing
to cleaning after the family party, to fixing stuff around the house, to help
anyone who just simply need any type of help. He is from a religious family,

_ he goes to church and participates in church events. He is [a] sweet, smart,
generous, friendly, honest and very reliable man. He is amazing with kids, he
is a great cousin to my sons and to everyone I know.... [H]e is a great man,
[with a] big heart and open arms! [Exhibit Q].

Lastly, with regard to his upright character, Dr. Anne Fox, another of Mr. Khater’s aunts,

writes:

Julian has always been dear to me as he is such an empathetic person. Even
as a young boy, I noticed that it was always Julian who carried my suitcase
and made sure that I had everything I needed. As he grew up, I noticed that
he was always keenly aware of the needs of others. Although a very quiet
child, at school, whenever I would pick him up, or when [ came across him,
he would be surrounded by other children, adjudicating squabbles with calm
fairness. As a young man, he was studious and incredibly hard-working. He
was always determined to do something meaningful with his life. He threw
himself into his business enterprise with the unwavering belief that he was
also doing good for the community. [Exhibit R].

13

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 17 of 28

In addition to wanting to do “good for the community,” Dr. Fox makes clear that Mr. Khater
is also steadfastly devoted to his family, writing that “Julian is fiercely loyal [and] will stand by his
... family ... no matter what.” Jd Given that fact, there is every reason to believe that he will not
leave the 16 family members prepared to co-sign his bond in financial ruin by violating any condition
ofhis release. And that conclusion is further buttressed by Mr. Khater’s otherwise exemplary history
and character. As a testament thereto, those closest to Mr. Khater have described him as “polite

35 G6.

and courteous,” the “nicest and most conscientious person,” a “kind,” “quiet and shy” “responsible

37 Ge 73 Ge

young man,” “caring, funny, thoughtful, compassionate [and] emphathetic,” “shy, quiet, [and]

gentle,” “kind-hearted,” a person who is “honest, helpful, polite, respectful of others, and

a6 a9 64

hardworking,” “studious and hard-working,” “remarkably gentle and thoughtful,” “sweet, gentle,
[and] calm,” a person “of high moral character,” and a “person with a big heart.” These are just
some of the terms used to describe Mr. Khater by those who know him best. As the Court will
undoubtedly recognize, a person does not suddenly develop such a character after he is arrested.
Rather, it is the hallmark of a person’s true nature. There is a reason that shock is a central theme
running throughout all the letters provided — the instant Indictment does not at all reflect Julian
Khater’s upstanding history and characteristics.
2. The Weight of the Evidence

As noted above, the weight of the evidence against a defendant is a factor to be considered
for bail. Here, defendant Julian Khater is charged with violating 18 U.S.C. §§ 111(a)(1) and (b), and
related offenses, for allegedly assaulting, resisting, or impeding certain officers using a dangerous

weapon, i.e., a bear spray cannister. Specifically, as detailed in the criminal complaint, Mr. Khater

is accused of “appearing” to hold such a cannister while spraying it in one continuous sweeping

14

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 18 of 28

motion of his arm “from side to side” and “in the direction” of law enforcement officers, while
standing as much as “eight feet away from [them]” after “emphatically” yelling out, “They just [ ]
sprayed me.” [Dkt. No. 1, pp.3, 5].

While the Government has not yet provided discovery, the defense notes that certain
information gleaned from the criminal complaint raises questions regarding the accusations against
Mr, Khater. First, the reference to him “appearing” to hold a cannister of bear spray is less than
definitive.

Second, proof that he took aim at officers is, at best, equivocal, given the Government’s
claim that he stood as much as “eight feet away from the officers” and did not spray directly at them
but only “in the officers’ direction.” For that matter, any notion that he took deliberative aim at any
officer is undercut by the very allegation that he was haphazardly “moving his right arm from side
to side” in the midst of an unruly crowd after, himself, being sprayed with a chemical agent. Indeed,
according to the Government itself, the act attributed to Mr. Khater occurred only after he
“emphatically” yelled out, “They just [ ] sprayed me.”

Third, a more than cursory reading of the criminal complaint reveals that the Government’s
case is far from impermeable. To be clear, the Government has not alleged beyond contestation that
whatever Mr. Khater purportedly discharged, in fact, struck any officer. Rather, the criminal
complaint alleges only that “something struck them in the face.” [Dkt. No. 1, p.4] (emphasis added).
And on that point, it bears emphasis that other spray had been discharged during the course of this
episode, as evidenced by the fact Mr. Khater excitedly uttered that he had “just [been] sprayed.” In
fact, as depicted in the criminal complaint, at the exact moment Mr. Khater is alleged to be holding

a cannister, an officer is doing so as well. [Dkt. No., p.4]. And, significantly, the winds were not at

i5

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 19 of 28

all moderate in Washington D.C. at the time of this incident, blowing as much as 20 miles per hour,
the strongest of the day.’

Given these circumstances, the Government will seemingly have difficulty establishing that
it was Mr. Khater and not another, even possibly law enforcement, responsible for the “something”
that struck the officers in this case.

In any event, regardless of what the Government believes its proof may show, the fact
remains that conditions of release can be fashioned to reasonably assure Mr. Khater’s appearance
as required and the safety of the community. In fact, that conclusion is further supported by an
examination of the unique nature and circumstances of the offense charged.

3. The Nature and Circumstances of the Offense Charged

- The criminal conduct charged in this case must be viewed against the extraordinarily unique
and specific circumstances of January 6". A large group of people gathered at the Capitol during the
electoral college vote, encouraged to do so by the then-Commander-in-Chief, as he and a growing
mob of protestors inflamed passions. Clearly, the conduct attributed to Mr. Khater in this case could
only, by virtue of the incredibly atypical events of that day, be a one-off circumstance. And that
factor is critical when assessing a defendant’s threat of danger, for such a threat must be actual and
not theoretical. See United States v. Patriaca, 948 F.2d 789 (1st Cir. 1991).

In making that evaluation, the “[t]he threat must [ ] be considered in context,” as should the
defendant’s “means of [carrying out that threat] in the future.” United States v. Munchel, 2021 WL
1149196, at *7 (D.C. Cir. 2021). “Whether a defendant poses a particular threat depends on the

nature of the threat identified and the resources and capabilities of the defendant.” /d., at *7.

 

*https://www.timeanddate.com/weather/usa/washington-de/historic?month=1 &year=2021.

16

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 20 of 28

Here, the nature and circumstances of the offense charged, and any attendant danger, are so
atypical that there is in actuality no real risk that the defendant will pose such a threat “in the future.”

Munchel, id.

4, The Nature and Circumstances of the Danger to Any Person or
the Community That Would Be Posed by the Person’s Release

The circumstances set forth above amply demonstrate that the release of Mr. Khater will not
pose any actual threat of danger to another or the community. As stated initially, the circumstances
reflected in the criminal complaint were the product of an emotionally charged powder keg, inflamed
by sudden passions and a mob mentality. But, even in the midst of such heightened emotionality,
as many others entered the Capitol Building by breaking windows and ramming open doors, Mr.
Khater never transgressed the barrier that lay directly before him. While the Government may
attempt to paint the portrait of some zealot hellbent on destroying democracy, the facts simply do
not give rise to such a fanciful image.

Rather, as the testimonials provided make clear, Mr. Khater is a kind and compassionate man
who has absolutely no prior contact with the criminal justice system, a history of continuous
employment, and a supportive and close-knit family. Plainly, his 32 years of peaceful and gainful
existence far outweigh the singular and aberrational allegation attributed to him on January 6",
Indeed, in all that time, there has never before been one allegation of misconduct, violent or
otherwise, against him.

Notwithstanding the foregoing, in order to allay any possible lingering concerns, Mr. Khater
is prepared to subject himself to the most stringent of pre-trial release conditions, home detention
with electronic monitoring. Although the defense submits that such a condition is unnecessary, Mr.

Khater yearns to return home to his loved ones and is prepared to sacrifice certain liberties to do so.

17

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 21 of 28

Along the same lines, while the face amount of the proposed bond, the volume of prospective
sureties, and the enormous value of collateral offered is also unnecessary to ensure Mr. Khater’s
compliance with the conditions of release, his family is wholly prepared to support such a substantial
bail package, because they earnestly know he will comply with any release conditions and truly
belongs home.

Cc. Julian Khater Does Not Pose a Risk of Flight

Home is where Mr. Khater longs to be, alongside his family. Accordingly, any notion that
he somehow poses a risk of flight is ill-conceived and belied by the objective facts, including his
substantial ties to the community and his relevant Guidelines exposure. With regard to the latter,
the defense has calculated a Guidelines range of 87 to 108 months applicable to the combined
charges in this case, conservatively giving the Government the benefit of every arguable Guidelines
enhancement for purposes of this motion.’ In addition, while the defense does not now state
U.S.S.G. § 3E1.1 will apply, were it ultimately deemed to do so, the aforementioned Guidelines
range would be reduced to 63 to 78 months; .¢., approximately five years on the low end.

Clearly, Mr. Khater is not about to throw away everything he knows — his entire life, his
friends, and his family, thereby destroying them financially and emotionally in the process — to avoid
such exposure. For the sake of emphasis, Mr. Khater’s aunt, Dr. Anne Fox, has confirmed that
“Julian is fiercely loyal [and] will stand by his ... family ... no matter what.” [Exhibit R].

D. The Prospective Sureties and Collateral

Just as Mr. Khater is loyal to his family members, so too are they to him. That is why 16 of

them are prepared to sign their names to an incredibly high $15 million bond, putting their lives on

 

*That range is based on a combined total offense level of 29 and a criminal history category of I.

18

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 22 of 28

the line for him. These family members, many from whom the Court is now in receipt of a character
letter, include: (1) his mother Eleanor Fox [Exhibit B]; (2) his father Elie M. Khater [Exhibit C]; (3)
his brother Michael Khater [Exhibit D]; (4) his brother Christopher Kater [Exhibit E]; (5) his brother
John Khater [Exhibit F]; (6) his cousin Jennifer Bozovic [Exhibit H]; (7) his cousin Josephine
Khater [Exhibit I]; (8) his cousin Joanna Khater [Exhibit J]; (9) his cousin Amine Khater [Exhibit
K]; (10) his cousin Elie F. Khater; (11) his cousin Ivan Bozovic; (12) his sister-in-law Geeta Khater
[Exhibit L]; (13) his sister-in-law’s cousin, Anup Kumar; (14) his uncle Pierre Khater [Exhibit M];
(15) his aunt Leila Khater [Exhibit N]; and (16) his aunt Wadad Khater [Exhibit O].*

As referenced above, Mr. Khater and his family are also prepared to post as collateral for a
bond five properties located in New Jersey, containing in the aggregate approximately $1.5 million
in equity.

The preceding extraordinary guarantees, coupled with home detention and electronic
monitoring, is more than sufficient to support Mr. Khater’s pre-trial release. Presently, Mr. Khater
is detained at the Correctional Treatment Facility in Washington D.C. where he is currently locked
down in his cell 23 hours a day in the midst of a once-in-a-lifetime pandemic. According to a recent
article in the Washington Post dated March 29, 2021, entitled “End the coronavirus lockdown in the

D.C, jail”:

 

“The defense has already provided to the Government a spreadsheet identifying each of these
people, as well as his of her contact information, occupation, and employer.

*Four of these properties are owned by Mr. Khater’s father and one of them by Mr. Khater
himself. To demonstrate ownership and equity with respect to them, the defense has already provided to
the Government information relating to all such properties, including proof of ownership, any mortgage
statements, and property tax assessments.

Shttps:/Avww.google.com/amp/ s/www.washingtonpost.com/opinions/202 1/03/29/its-time-end-cor
onavirus-lockdown-dc-jail/%o3 foutputT ype=amp.

19

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 23 of 28

For nearly a year, the D.C. Jail has been on a coronavirus lockdown. Inmates
have lived in their cells for 23 hours a day. They are not permitted to see their
families or friends. Even interaction with attorneys is sparse. One inmate
disclosed that he hadn’t “seen sunlight for literally a year.” Reports of inmate
violence have risen, as have mental health problems. And though employees
and inmates are now eligible for vaccination, D.C. Jail administrators have
not yet outlined a plan to end this pandemic-induced purgatory of isolation
and confinement.

x * * *
Inmates are still isolated, and their welfare has not been prioritized.
According to one of several lawsuits filed in response to the D.C. Jail’s
handling of the public health crisis, instead of receiving medical care, inmates
with the coronavirus have at times been locked in solitary confinement with
no emergency buttons and insufficient hygienic products. These practices are
inconsistent with science. According to the Center for Disease Control and
Prevention and public health experts, vaccination and decarceration are the
best ways to stem the spread of the coronavirus in jails and prisons.

* * * Ey
A federal court has consistently demanded, most recently in January, that
administrators address the still-unacceptable medical care, sanitation and
isolation conditions.’ The moral imperative is just as clear: Continued
lockdown promises to exacerbate health problems, rather than alleviate them.
Prolonged isolation can cause anxiety, violent outbursts and suicidal
thoughts. People who experience solitary confinement could lose the ability
to live around other people, and inmates may become less capable of
reentering their communities...

No pre-trial detention let alone that under these onerous conditions, for however long the
pendency of this case may last, is necessary to reasonably assure the safety of the community and
Mr. Khater’s return to Court.

E. Summary

In light of Julian Khater’s upstanding history and characteristics, his lack of any prior
criminal history, his relatively limited Guidelines sentencing exposure in this case, his lack of

dangerousness, and the absence of any risk of flight, we submit that the substantial bail package

 

’The article refers to a civil proceeding in this District captioned Banks, et. al. v. Booth,
et. al., docket no. 20-849 (CKK).

20

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 24 of 28

presented is more than sufficient to satisfy the release requirements of the Bail Reform Act, 18
U.S.C. § 3142,

As stated in United States v. Salerno, “[i]n our society liberty is the norm, and detention prior
to trial or without trial is the carefully limited exception.” 481 U.S. at 755 (1987). In accordance
with that axiom, many defendants charged with violent and/or aggressive behavior on January 6"
have been released pending trial. See United States v. Palmer, 21-mj-301 (GMH) (detention not
justified for defendant accused of throwing a wooden plank at officers, spraying the contents ofa fire
extinguisher at officers, throwing the fire extinguisher at them, and then picking it up and throwing
it at them a second time); United States v. Mackrell, 21-cr-276 (CKK) (detention not justified for
defendant accused of striking officer and grabbing officer’s mask under face shield to expose officer
to bear spray, before stating, “whatever it takes for my country,” “I’m not done,” and “I’m going
back in.”); United States v. Blair, 21-cr-186 (CRC) (detention not justified for defendant accused
of striking officer in chest area with large stick attached to Confederate flag and shouting, “what’s
up motherfucker, what’s up, what’s up bitch,” while in possession of a knife, and yelling to crowd
approached by officers, “hell naw, quit backing up, don’t be scared, we’re Americans, don’t be
scared, let’s go quit backing up, quit being scared.”); United States v. Cua, 2021 WL 918255 (D.D.C.
March 10, 2021), ship op. at *1 (detention not justified for defendant who previously called for
execution of elected officials and “glorified violent protest,” and who on January 6, 2021, walked
through Capitol building twirling a black baton, attempted to open office doors in the Capitol, thrice
shoved aside a police officer to enter the Senate Chamber, sat “atop the Senate dais in the chair
previously occupied by former Vice President Mike Pence, with his feet up on [ ] the desk,” and

photographed senators’ papers in the chamber); United States v. Leffingwell, 21-cr-5 (ABJ)

21

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 25 of 28

(detention not justified for defendant who repeatedly punched a police officer at Capitol with a
closed fist and breached line of officers attempting to keep people out of the building); United States
v. Capsel, 21-mj-122 (RMM) (detention not justified for defendant captured on video physically
fighting National Guardsmen who were attempting to hold a boundary, and who did not desist until
he was sprayed with pepper spray); United States v. Bisignano, 21-cr-36 (CJN) (detention not
justified for defendant accused of being an “instigator, a director, and an active participant in the
violence, destruction and obstruction at the Capitol,” who was on the front lines pushing against the
police, shouted through a bullhorn, “Everybody, we need gas masks! We need weapons! We need

[>>

strong, angry patriots to help our boys!” and is charged with destruction of property); United States
v. Hunter Ehmke, 21-cr-29 (TSC) (detention not justified for defendant who broke window of
Capitol building and did not cease when ordered to do so by police officer); United States v. Jones,
21-mj-76 (ZMF) (detention not justified for defendant who violently broke glass of doorway to
House chamber Ashli Babbitt tried to climb through seconds later)); United States v. Gossjankowski,
21-cr-123 (PLF) (detention not justified for defendant who activated taser in Capitol multiple times);
United States y, Miller, 21-cr-75 (RDM) (detention not justified for defendant who discharged fire
extinguisher onto police officers and used a crowd barrier fence as a ladder to scale the Capitol
building walls); United States v. Powell, 21-cr-179 (RCL) (detention not justified for defendant who
used a battering ram to break a window of the Capitol, climbed in, came back out, used bullhorn to
direct others inside with what seemed to be detailed knowledge of the floor plan, and exhorted others
to break another window); United States v. Biggs, 21-mj-126 (RMM) (detention not justified for

Proud Boy defendant who posted plans on social media before attack, was at front of crowd who

breached and entered Capitol building within 20 seconds of breach, and communicated with other

22

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 26 of 28

Proud Boy members with walkie-talkies during riot); United States v. Colt, 21-cr-74 (TFH)
(detention not justified for defendant wearing assault gear who scaled the wall of the Senate
chamber, later proclaimed on social media that he was the first person to sit in former Vice President
Pence’s chair, and called Speaker Pelosi a “traitor”); United States v. DeCarlo/Ochs, 21-cr-73 (BAH)
(detention not justified for Proud Boy organizers who planned and fundraised for the riot, one of
whom had Proud Boys name tattooed on his body, who posted their obstructionist intent on social
media, defaced the Capitol building with the words, “Murder the Media,” and took flexicuffs from
the Capitol); United States v. Cudd, 21-cr-68 (TNM) (detention not justified for defendant who
livestreamed video from inside Capitol building stating that to gain entrance “we jusi pushed,
pushed, and pushed, and yelled go and yelled charge,” and said “fuck yes, I am proud of my actions,
I fucking charged the Capitol today with patriots today. Hell, yes, I am proud of my actions,” and
later told a new station, “Yes, I would absolutely do it again’).

Notably, every single defendant referenced above was released on an unsecured bond, as
evidenced by the orders and/or appearance bonds annexed hereto as Exhibit S.

Here, the defense proposes that Julian Khater be released upon what amounts to a very
substantial and secured bail package. Specifically, as detailed above, the defense respectfully
requests that the Court grant Mr. Khater’s pre-trial release upon stringent conditions of home
detention and electronic monitoring, the immediate surrender of any and all passports, and the
posting of a $15 million bond, secured by five properties containing approximately $1.5 million in

equity and co-signed by 16 financially responsible people.

23

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 27 of 28

CONCLUSION
For the reasons set forth herein, the defense respectfully submits that the Court should grant
the relief sought in the annexed Notice of Motion, so as to release defendant Julian Khater pending
trial, as well as such other and further relief as this Court deems just and proper.

DATED this 20" day of April, 2021.

 

oe es {].
Tacopina Seigel & DeOreo
Attorneys for Defendant Julian Khater
275 Madison Avenue, 35" Floor
New York, N.Y. 10016
Tel: (212) 227-8877

/sf Alvin H. Thomas, Jr.

Alvin H. Thomas , Jr., Esq.

Law Office of Alvin H. Thomas Jr., PLLC
Attorney for Defendant Julian Khater

938 E. Swann Creek Road, #325

Fort Washington, MD. 20744

Tel: (301) 203-0893

24

 
Case 1:21-cr-00222-TFH Document 18-1 Filed 04/20/21 Page 28 of 28

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

x
UNITED STATES OF AMERICA
Docket No. 21-CR-00222 (TFH)
— against —
JULIAN ELIE KHATER,
Defendant.
nnnoe- x
CERTIFICATE OF SERVICE

[ hereby certify that on April 20, 2021, I caused a true and correct copy of the foregoing

Defendant’s Motion for Pre-Trial Release and accompanying documents to be delivered to the

Lt dagel
Le Seigel/Bsd.

Tacopina cio & ores

Attorneys for Defendant Julian Khater
275 Madison Avenue, 35” Floor

New York, N.Y. 10016

Tel: (212) 227-8877

parties in this matter via Electronic Case Filing (ECF).

 
